      Case 17-05137-LT7                      Filed 06/27/22               Entered 06/27/22 10:49:51                        Doc 849-1             Pg. 1 of
                                                                              2
Information to identify the case:
Debtor
                Peppertree Park Villages 9 and 10, LLC                                          EIN:    26−3454001
                Name

United States Bankruptcy Court       Southern District of California                            Date case filed in chapter:          11      8/28/17
                                                                                                Date case converted to chapter:
Case number:        17−05137−LT7                                                                                                      7      6/27/22

Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                         12/15/20

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                        Peppertree Park Villages 9 and 10, LLC

2. All other names used in the
   last 8 years
3. Address                                   5256 S. Mission Road, Suite 905
                                             Bonsall, CA 92003

4. Debtor's attorney                         Marshall Hogan                                                       Contact phone 714−427−7000
                                             Snell & Wilmer                                                       Email mhogan@swlaw.com
   Name and address                          600 Anton Boulevard
                                             Suite 1400
                                             Costa Mesa, CA 92626

5. Bankruptcy trustee                        Gerald H. Davis                                                      Contact phone 619−400−9997
                                             Gerald H. Davis                                                      Email: ghd@trusteedavis.com
    Name and address                         PO Box 38
                                             Aguanga, CA 92536

6. Bankruptcy clerk's office                 Jacob Weinberger U.S. Courthouse                                     Hours open
                                             325 West F Street
    Documents in this case may be            San Diego, CA 92101−6991                                             8:30am − 4:30pm
    filed at this address. You may
    inspect all records filed in this case
    at this office or online at                                                                                   Contact phone 619−557−5620
    www.casb.uscourts.gov.

7. Meeting of creditors                      July 27, 2022 at 09:30 AM                      Location:
    The debtor's representative must
    attend the meeting to be                 The meeting may be continued or                To access the Zoom 341 meeting, go to Zoom.us
    questioned under oath. Creditors         adjourned to a later date. If so, the date     and click Join Meeting, or call 1 669 900 6833, and
    may attend, but are not required to      will be on the court docket.
                                                                                            enter Meeting ID Number 701 840 9493 and
    do so.                                                                                  Passcode 008251966 when prompted.
8. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
    to do so.

9. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.

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Debtor Peppertree Park Villages 9 and 10, LLC and Peppertree Land                                     Case number 17−05137−LT7
Company

                         NOTICE OF APPOINTMENT OF INTERIM TRUSTEE
   An order for relief having been entered in the above−referenced case on 8/28/17, the following person is named Interim
Trustee of the estate of the debtor:


                                                          Gerald H. Davis
                                                          Gerald H. Davis
                                                            PO Box 38
                                                        Aguanga, CA 92536

                                            TRUSTEE REQUIREMENTS
     Debtors and debtors' attorneys must review the Standing Administration Guidelines immediately to comply with the
production of supporting documentation of material represented in the Schedules and Statement of Financial Affair. Failure to do
so in a timely manner may result in continuances of Meetings and additional appearances. The Trustee Guidelines and
Additional Requirements are available on the internet at:

                                          http://www.casb.uscourts.gov/trusteeguidelines


                                                 DISMISSAL OF CASE
   Notice is given that this case will be dismissed if the debtor(s) fails to pay the filing fee pursuant to the Rules of Bankruptcy
Procedure 1006. This dismissal may occur without further notice.
    Furthermore, notice is given that if the Debtor fails to file schedules and statements or other documents required by the Rules
of Bankruptcy Procedure 1007, and/or 11 U.S.C. 521, or if the Debtor or Joint Debtor fails to appear at the §341(a) meeting that
the Court, Trustee or U.S. Trustee may move for dismissal of the case without further notice to the Debtor or Creditors. A party
in interest may object to the motion for dismissal at the §341(a) meeting, at which time a hearing on the objection will be
scheduled.

                                                BANKRUPTCY FRAUD
   If you have information regarding any bankruptcy fraud or abuse, please contact the United States Trustee in writing at 880
Front Street, 3rd Floor, Ste. 3230, San Diego, CA 92101 and/or by calling 619−557−5013.

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                                                                                For the Court:

                                                                                Michael Williams, Clerk
                                                                                United States Bankruptcy Court
Dated: 6/27/22                                                                  Southern District of California
